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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

GAVIN/SOLMONESE LLC,                                     )
                                                         )
                Plaintiff,                               )    Case No. 16-CV-1086
      v.                                                 )
                                                         )    Judge John R. Blakey
STEPHEN L. KUNKEL                                        )
                                                         )
                Defendant.                               )



                              MOTION TO RESET THE TRIAL DATE

           COMES NOW Plaintiff Stephen L. Kunkel, by his counsel, and requests that the Court set

 a new trial date beginning on or after December 7, 2018, in support thereof, states as follows:

                                              SUMMARY


           1. At a status conference on April 4, 2018, the Court extended discovery at the request of

 Plaintiff’s counsel and set a final discovery cut-off date (May 4); a Final Discovery Status (May

 15); a date for dispositive motions (June 25), including responses and replies; deadlines for the

 filing of the Pre-Trial Order and motions in limine (October 23), a Pre-Trial Conference date

 (November 13) and a Trial Date (November 19).


           2. Defense counsel did not object to any of the above dates, but requested a Trial Date after

 the Thanksgiving Holiday.


           3. At the time of the status conference, defense (local) counsel was further unaware that

 co-counsel, Christopher Hedican, who has handled much of the discovery in this case, who will be

 co-trial counsel, and who has acted as lead trial counsel on related matters in Iowa, will be on trial

 in another matter before the Honorable John Gerrard of in the matter of Martin v. Nebraska


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 Methodist Hospital, Inc., Case No. 8:17-cv-00121-JMG-SMB pending in the United States District

 Court for the District of Nebraska. Mr. Hedican’s trial date has been scheduled since February 20,

 2018 which was a resetting of an original trial date. The trial is expected to last approximately 1

 week. That trial has already been rescheduled once, involves two parties and cannot be reset again.


        4. Based on the foregoing, Defendant, Stephen L. Kunkel, respectfully requests that the

 Court set the trial on a date beginning on or after December 7, 2018.




Dated: April 9, 2018                                  STEPHEN L. KUNKEL




                                                  By: /s/ Stephen L. Kunkel
                                                     Stephen L. Kunkel


                                                      THE GURLAND LAW FIRM



                                                  By: /s/ Michael Z. Gurland
                                                       Michael Z. Gurland
                                                       The Gurland Law Firm
                                                       414 North Clay Street,
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                                                       and

                                                       Christopher R. Hedican
                                                       Baird Holm Law Firm
                                                       1700 Farnam Street, Suite 1500
                                                       Omaha, Nebraska 68102

                                                       Admitted Pro Hac Vice




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                                   CERTIFICATE OF SERVICE


       I hereby certify that on April 8, 2018, I caused the foregoing Motion to Reset the Trial Date to

be served via U.S. Mail and/or electronic mail, to the below-named attorney(s) who are registered to

received electronic filings, by operation of the Clerk of the U.S. District Court’s Electronic Case Filing

(ECF) system:


To:    Craig T. Boggs                                   Brian L. Shaw
       Jeannil Boji                                     Shaw Fishman Glantz & Towbin LLC
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       131 South Dearborn Street, Suite 1700            Chicago, Illinois 60654
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       /s/ Michael Z. Gurland

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